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U.S. Department of Justice
United States Attorney




                                   IN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF GEORGIA

                                                                Division: GainesviUe
                                                                (USAO: 2020R00506)
                                                                                                      -Sc




                                DEFENDANT INFORMATION RELATWE TO A CRIMINAL ACTION


 COUNTyNAME: HaU                                                       DISTRICT COURT N'

                                                                       MAGISTRATE CASE NO.

 X Indictment                                     Infonnation                              Magistrate's Complaint
 DATE: June 16,2020                               DATE:                                    DATE:

                             UNITED STATES OF AMERICA                 SUPERSEDDsTG INDICTMENT
                                       vs.                            Prior Case Number:
                             DELVECCHO WALLER, JR.                    Date Filed:

 GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                          Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding?                  X Yes No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No
Will the defendant require an interpreter? Yes X No




District Judge:



Attorney: Gregory Radios
Defense Attorney:
